                                UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF ALASKA

CENTER FOR
BIOLOGICAL DIVERSITY,
          Plaintiff,
                                                  Case Number 3:18-cv-00064-SLG
v.

DAVID BERNHARDT, in his
official capacity as Secretary of
the United States Department of
the Interior, et at.,,
               Defendants.                        JUDGMENT IN A CIVIL CASE



DECISION BY COURT. This action came to trial or decision before the Court. The issues
have been tried or determined and a decision has been rendered.

       IT IS ORDERED AND ADJUDGED:

     For the reasons set forth in the order docketed at ECF No. 54, IT IS
ORDERED as follows: CBD’s Motion for Summary Judgment at Docket 35 is
DENIED and Defendants’ Motion for Summary Judgment at Docket 39 is
GRANTED.
The Clerk of Court is directed to enter a final judgment accordingly.



APPROVED:

 s/Sharon L. Gleason
 SHARON L. GLEASON
 United States District Judge
 Date: September 26, 2019
 NOTE: Award of prejudgment interest, costs and             Jennifer Gamble
 attorney's fees are governed by D.Ak. LR 54.1,   Jennifer Gamble, Acting Clerk of Court
 54.2, and 58.1.


[Jmt2 - Basic - rev. 1-13-16}




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[Jmt2 - Basic - rev. 1-13-16}                                        2



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